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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


   In re:

   QUORUM HEALTH CORPORATION, et al.,                   Chapter 11

                                Debtor.                 Case No. 20-10766 (BLS)



  DANIEL H. GOLDEN, AS LITIGATION
  TRUSTEE OF THE QHC LITIGATION
  TRUST, AND WILMINGTON SAVINGS
  FUND SOCIETY, FSB, SOLELY IN ITS                      Adv. Pro. No. 21-51190 (BLS)
  CAPACITY AS INDENTURE TRUSTEE,

                              Plaintiffs,

       v.

  COMMUNITY HEALTH SYSTEMS, INC.;
  CHS/COMMUNITY HEALTH SYSTEMS,
  INC.; REVENUE CYCLE SERVICE CENTER,
  LLC; CHSPSC, LLC; PROFESSIONAL
  ACCOUNT SERVICES, INC.; PHYSICIAN
  PRACTICE SUPPORT, LLC; ELIGIBILITY
  SCREENING SERVICES, LLC; W. LARRY
  CASH; RACHEL SEIFERT; ADAM                            Ref. Docket Nos. 43 & 47
  FEINSTEIN; AND CREDIT SUISSE
  SECURITIES (USA) LLC,

                              Defendants.


            JOINT REQUEST FOR ORAL ARGUMENT IN CONNECTION
                  WITH DEFENDANTS’ MOTIONS TO DISMISS

       Pursuant to Del. Bankr. L.R. 7007-3, (i) Defendants Community Health Systems, Inc.,

CHS/Community Health Systems, Inc., Revenue Cycle Service Center, LLC, CHSPSC, LLC,

Professional Account Services, Inc., Physician Practice Support, LLC, Eligibility Screening

Services, LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein, (ii) Defendant Credit Suisse
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Securities (USA) LLC (collectively, the “Defendants”), (iii) Plaintiff Daniel H. Golden, as

Litigation Trustee of the QHC Litigation Trust, and (iv) Plaintiff Wilmington Savings Fund

Society, FSB, solely in its capacity as Indenture Trustee in the above-captioned proceeding,

respectfully jointly request oral argument on the Defendants’ Motions to Dismiss [Docket Nos.

43, 47] (the “Motions to Dismiss”) filed on January 14, 2022 and January 19, 2022, respectively.

The Motions to Dismiss are fully briefed and ready for the Court’s consideration.




                                   [Signature Pages Follow]




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Date: May 9, 2022                              Respectfully submitted,

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                                                 Trust, and Wilmington Savings Fund
                                                 Society, FSB, solely in its capacity as
                                                 Indenture Trustee




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